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Attorneys for Plaintiff and Counter-defendant Calista Enterprises Ltd.

                            UNITED STATES DISTRICT COURT
                       DISTRICT OF OREGON – PORTLAND DIVISION



CALISTA ENTERPRISES LTD.,                           Case No. 3:13-cv-01045-SI
a Republic of Seychelles company,
                                                    DECLARATION OF LAUREN WHITNEY
   Plaintiff,                                       IN SUPPORT OF CALISTA’S REPLY IN
                                                    SUPPORT OF ITS MOTION FOR
- v. -                                              SUMMARY JUDGMENT

TENZA TRADING LTD.,
a Cyprus company,

   Defendant.



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TENZA TRADING LTD.,
a Cyprus company,

   Counterclaim Plaintiff,

- v. -

CALISTA ENTERPRISES LTD.,
a Republic of Seychelles company, and
ALEXANDER ZHUKOV,
a Czechoslovakian citizen,

   Counterclaim Defendants.


I, Lauren Whitney, declare as follows:

         1.    I am an employee of Boston Law Group, PC, counsel of record to Calista

Enterprises Ltd. in the above captioned action. I have personal knowledge of the facts stated

herein. If called upon to do so, I could and would testify to the truth thereof.

         2.    I have reviewed the list of domain names that comprise Exhibit 1 to the

Declaration of Evan Fray-Witzer in Support of Calista Enterprises Ltd.’s Motion for Summary

Judgment (Docket No. 97). As evidenced below, I took a sampling of 50 of the domain names in

that list of domain names by checking the website and WHOIS record for each domain name in

the top right and bottom left of each page of the list to determine whether those domain names

were actually ever registered and if they were in use.

         3.    As evidenced below, it appears that every single domain name that I sampled was

at some point registered. Out of 50 of them, only two of the domain name registrations were

currently expired (those domain names being fickporntube.com and porntubewife.com).




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       4.      Many of the screen captures of the websites at the sampled domain names

attached hereto have been partially redacted so as to remove sexually explicit images.

       5.      Attached hereto as Exhibit 1 is a true screen capture of the website

21porntube.com that I accessed on July 17, 2014 and a true printout of the WHOIS results for the

domain 21porntube.com that I accessed on July 17, 2014.

       6.      Attached hereto as Exhibit 2 is a true screen capture of the website

8porntubes.com that I accessed on July 17, 2014 and a true printout of the WHOIS results for the

domain 8porntubes.com that I accessed on July 17, 2014.

       7.      Attached hereto as Exhibit 3 is a true screen capture of the website anal-

porntube.com that I accessed on July 17, 2014 and a true printout of the WHOIS results for the

domain anal-porntube.com that I accessed on July 17, 2014.

       8.      Attached hereto as Exhibit 4 is a true screen capture of the website

arabporntube4free.com that I accessed on July 17, 2014 and a true printout of the WHOIS results

for the domain arabporntube4free.com that I accessed on July 17, 2014.

       9.      Attached hereto as Exhibit 5 is a true screen capture of the website

beautyporntube.com that I accessed on July 17, 2014 and a true printout of the WHOIS results

for the domain beautyporntube.com that I accessed on July 17, 2014.

       10.     Attached hereto as Exhibit 6 is a true screen capture of the website that resolved

when I accessed bigbootyporntube.com on July 17, 2014 and a true printout of the WHOIS

results for the domain bigbootyporntube.com that I accessed on July 17, 2014.

       11.     Attached hereto as Exhibit 7 is a true screen capture of the website

boysporntube.com that I accessed on July 17, 2014 and a true printout of the WHOIS results for

the domain boysporntube.com that I accessed on July 17, 2014.

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       12.     Attached hereto as Exhibit 8 is a true screen capture of the website

cashporntube.com that I accessed on July 17, 2014 and a true printout of the WHOIS results for

the domain cashporntube.com that I accessed on July 17, 2014.

       13.     Attached hereto as Exhibit 9 is a true screen capture of the website

dailyfreeporntubes.net that I accessed on July 17, 2014 and a true printout of the WHOIS results

for the domain dailyfreeporntubes.net that I accessed on July 17, 2014.

       14.     Attached hereto as Exhibit 10 is a true screen capture of the website

docporntube.com that I accessed on July 17, 2014 and a true printout of the WHOIS results for

the domain docporntube.com that I accessed on July 17, 2014.

       15.     Extremeporntube.net did not resolve to a website when I attempted to access it on

July 17, 2014. Attached hereto as Exhibit 11 is a true printout of the WHOIS results for the

domain extremeporntube.net that I accessed on July 17, 2014.

       16.     Fickporntube.com did not resolve to a website when I attempted to access it on

July 17, 2014. Attached hereto as Exhibit 12 is a true printout of the WHOIS results for the

domain fickporntube.com that I accessed on

       17.     Attached hereto as Exhibit 13 is a true screen capture of the website

freehdporntubes.com that I accessed on July 17, 2014 and a true printout of the WHOIS results

for the domain freehdporntubes.com that I accessed on July 17, 2014.

       18.     Attached hereto as Exhibit 14 is a true screen capture of the website

freeporntube.com that I accessed on July 17, 2014 and a true printout of the WHOIS results for

the domain freeporntube.com that I accessed on July 17, 2014.




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       19.     Freexxxxporntube.com did not resolve to a website when I attempted to access it

on July 17, 2014. Attached hereto as Exhibit 15 is a true printout of the WHOIS results for the

domain freexxxxporntube.com that I accessed on July 17, 2014.

       20.     Attached hereto as Exhibit 16 is a true screen capture of the website

gaybearporntube.com that I accessed on July 17, 2014 and a true printout of the WHOIS results

for the domain gaybearporntube.com that I accessed on July 17, 2014.

       21.     Attached hereto as Exhibit 17 is a true screen capture of the website that resolved

when I accessed goldenageofporntube.com on July 17, 2014, and a true printout of the WHOIS

results for the domain goldenageofporntube.com that I accessed on July 17, 2014.

       22.     Attached hereto as Exhibit 18 is a true screen capture of the website

growporntube.com that I accessed on July 17, 2014 and a true printout of the WHOIS results for

the domain growporntube.com that I accessed on July 17, 2014.

       23.     Attached hereto as Exhibit 19 is a true screen capture of the website

hindiporntube.org that I accessed on July 17, 2014 and a true printout of the WHOIS results for

the domain hindiporntube.org that I accessed on July 17, 2014.

       24.     Attached hereto as Exhibit 20 is a true screen capture of the website

hotsexyporntube.com that I accessed on July 17, 2014 and a true printout of the WHOIS results

for the domain hotsexyporntube.com that I accessed on July 17, 2014.

       25.     Attached hereto as Exhibit 21 is a true screen capture of the website

iphoneporntube.com that I accessed on July 17, 2014 and a true printout of the WHOIS results

for the domain iphoneporntube.com that I accessed on July 17, 2014.




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       26.     Attached hereto as Exhibit 22 is a true screen capture of the website

jokerporntube.net that I accessed on July 17, 2014 and a true printout of the WHOIS results for

the domain jokerporntube.net that I accessed on July 17, 2014.

       27.     Attached hereto as Exhibit 23 is a true screen capture of the website

lastporntube.com that I accessed on July 17, 2014 and a true printout of the WHOIS results for

the domain lastporntube.com that I accessed on July 17, 2014.

       28.     Attached hereto as Exhibit 24 is a true screen capture of the website

lineporntube.com that I accessed on July 17, 2014 and a true printout of the WHOIS results for

the domain lineporntube.com that I accessed on July 17, 2014.

       29.     Attached hereto as Exhibit 25 is a true screen capture of the website

maturewomanporntube.com that I accessed on July 17, 2014 and a true printout of the WHOIS

results for the domain maturewomanporntube.com that I accessed on July 17, 2014.

       30.     Attached hereto as Exhibit 26 is a true screen capture of the website

mobilehdporntube.com that I accessed on July 17, 2014 and a true printout of the WHOIS results

for the domain mobilehdporntube.com that I accessed on July 17, 2014.

       31.     Attached hereto as Exhibit 27 is a true screen capture of the website

naijaporntube.com that I accessed on July 17, 2014 and a true printout of the WHOIS results for

the domain naijaporntube.com that I accessed on July 17, 2014.

       32.     Attached hereto as Exhibit 28 is a true screen capture of the website

notaporntube.com that I accessed on July 17, 2014 and a true printout of the WHOIS results for

the domain notaporntube.com that I accessed on July 17, 2014.




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       33.     Attached hereto as Exhibit 29 is a true screen capture of the website

perfectporntube.com that I accessed on July 17, 2014 and a true printout of the WHOIS results

for the domain perfectporntube.com that I accessed on July 17, 2014.

       34.     Attached hereto as Exhibit 30 is a true screen capture of the website

pornporntube.com that I accessed on July 17, 2014 and a true printout of the WHOIS results for

the domain pornporntube.com that I accessed on July 17, 2014.

       35.     Porntube6.com did not resolve to a website when I attempted to access it on July

17, 2014. Attached hereto as Exhibit 31 is a true printout of the WHOIS results for the domain

porntube6.com that I accessed on July 17, 2014.

       36.     Attached hereto as Exhibit 32 is a true screen capture of the website

porntubebank.com that I accessed on July 17, 2014 and a true printout of the WHOIS results for

the domain porntubebank.com that I accessed on July 17, 2014.

       37.     Attached hereto as Exhibit 33 is a true screen capture of the website

porntubedir.com that I accessed on July 17, 2014 and a true printout of the WHOIS results for

the domain porntubedir.com that I accessed on July 17, 2014.

       38.     Attached hereto as Exhibit 34 is a true screen capture of the website

porntubefind.com that I accessed on July 17, 2014 and a true printout of the WHOIS results for

the domain porntubefind.com that I accessed on July 17, 2014.

       39.     Attached hereto as Exhibit 35 is a true screen capture of the website

porntubejapan.com that I accessed on July 17, 2014 and a true printout of the WHOIS results for

the domain porntubejapan.com that I accessed on July 17, 2014.




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       40.     Attached hereto as Exhibit 36 is a true screen capture of the website

porntubemania.com that I accessed on July 17, 2014 and a true printout of the WHOIS results for

the domain porntubemania.com that I accessed on July 17, 2014.

       41.     Attached hereto as Exhibit 37 is a true screen capture of the website

porntubeprime.com that I accessed on July 17, 2014 and a true printout of the WHOIS results for

the domain porntubeprime.com that I accessed on July 17, 2014.

       42.     Attached hereto as Exhibit 38 is a true screen capture of the website

porntubese.net that I accessed on July 17, 2014 and a true printout of the WHOIS results for the

domain porntubebank.net that I accessed on July 17, 2014.

       43.     Attached hereto as Exhibit 39 is a true screen capture of the website

porntubetroie.com that I accessed on July 17, 2014 and a true printout of the WHOIS results for

the domain porntubetroie.com that I accessed on July 17, 2014.

       44.     Porntubewife.com did not resolve to a website when I accessed it on July 17,

2014. Attached hereto as Exhibit 40 is a true printout of the WHOIS results for the domain

porntubewife.com that I accessed on July 20, 2014.

       45.     Attached hereto as Exhibit 41 is a true screen capture of the website

rapidporntube.com that I accessed on July 17, 2014 and a true printout of the WHOIS results for

the domain rapidporntube.com that I accessed on July 17, 2014.

       46.     Attached hereto as Exhibit 42 is a true screen capture of the website

rollporntube.com that I accessed on July 17, 2014 and a true printout of the WHOIS results for

the domain rollporntube.com that I accessed on July 17, 2014.




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       47.     Attached hereto as Exhibit 43 is a true screen capture of the website shemale-

porntubes.com that I accessed on July 17, 2014 and a true printout of the WHOIS results for the

domain shemale-porntubes.com that I accessed on July 17, 2014.

       48.     Attached hereto as Exhibit 44 is a true screen capture of the website

sleepsexporntube.com that I accessed on July 17, 2014 and a true printout of the WHOIS results

for the domain sleepsexporntube.com that I accessed on July 17, 2014.

       49.     Attached hereto as Exhibit 45 is a true screen capture of the website

teenageporntube.net that I accessed on July 17, 2014 and a true printout of the WHOIS results

for the domain teenageporntube.net that I accessed on July 17, 2014.

       50.     Attached hereto as Exhibit 46 is a true screen capture of the website

thatporntube.com that I accessed on July 17, 2014 and a true printout of the WHOIS results for

the domain thatporntube.com that I accessed on July 17, 2014.

       51.     Attached hereto as Exhibit 47 is a true screen capture of the website

twinkporntube.net that I accessed on July 17, 2014 and a true printout of the WHOIS results for

the domain twinkporntube.net that I accessed on July 17, 2014.

       52.     Attached hereto as Exhibit 48 is a true screen capture of the website vintage-

porntube.com that I accessed on July 17, 2014 and a true printout of the WHOIS results for the

domain vintage-porntube.com that I accessed on July 17, 2014.

       53.     Attached hereto as Exhibit 49 is a true screen capture of the website

wwporntube.com that I accessed on July 17, 2014 and a true printout of the WHOIS search

results for the domain wwporntube.com that I accessed on July 18, 2014.




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       54.     Attached hereto as Exhibit 50 is a true screen capture of the website that resolved

when I accessed xporntubes.com on July 17, 2014, and a true printout of the WHOIS results for

the domain xporntubes.com that I accessed on July 17, 2014.



       I swear under the penalty of perjury pursuant to the laws of the United States that the

foregoing is true and correct.


Dated: July 22, 2014                                   /s/ Lauren Whitney
                                                       Lauren Whitney




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